                                         THE CITY OF NEW YORK
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                                                              March 25, 2025

  BY ECF
  Honorable Ronnie Abrams
  United States District Judge
  Southern District of New York
  40 Foley Square
  New York, New York 10007

                 Re: Real Estate Board of New York, Inc., et al. v. City of New York, et. al.,
                     24-CV-9678 (RA)

  Your Honor:

         I am an Assistant Corporation Counsel assigned to represent defendants City of New
  York and New York City Department of Consumer and Worker Protection (“DCWP”)
  Commissioner Vera Mayuga in the above-referenced matter. I write, jointly with plaintiffs’
  counsel, to request a two-week extension of the briefing schedule previously endorsed by this
  Court.

          Plaintiffs’ motion for a preliminary injunction was filed on January 13, 2025.
  Defendants’ motion to dismiss and opposition to the motion for a preliminary injunction was
  filed on February 28, 2025. Under the original briefing schedule, plaintiffs’ response is due
  March 28, 2025 and defendants’ reply is due April 11, 2025.

          The State of New York has advised that it intends to seek leave to file a brief as amicus
  curiae in support of defendants on plaintiffs’ field preemption claim. Defendants consent to the
  State’s motion. Plaintiffs agree not to oppose the State’s motion to file the amicus brief, subject
  to an extension of the parties’ briefing schedule to permit plaintiffs to respond to arguments set
  forth in the amicus brief, if appropriate. Accordingly, to accommodate the State’s anticipated
  amicus brief, the parties and State jointly propose the following briefing schedule:

     •   State’s motion for leave to file amicus brief: March 28, 2025
     •   Plaintiffs’ opposition to motion to dismiss/reply to preliminary injunction: April 11,
         2025
     •   Defendants’ reply to motion to dismiss: April 25, 2025
      I thank the Court for its consideration of this request.


                                                             Respectfully submitted,


                                                             /S
                                                             Aimee K. Lulich
                                                             Senior Counsel


To:   VIA ECF
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                                             Application granted. The Court adopts the
                                             briefing schedule proposed above.

                                             SO ORDERED.


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                                             Hon. Ronnie Abrams
                                             March 26, 2025




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